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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)



                                         UNITED STATES DISTRICT COURT
                                                                                          for the

                                                         - - - - - District of - - - - -

                                                                   - - - - - Division

                                                                                                 )
                                                                                                 )
                                                                                                     Case No,   ·CA.20- 455
                                                                                                                (to befi/Ted in by the Clerk's Office)
                                                                                                                                                                        ~
                               A, rdh 00111 ..-.MtiSlQ..j                                        )
                              Plaintiff(s}
                                                                                                 )
(Write the full name of each plai11tiff who is filing this complaint.
If the names of all the plaint(ffe cannot fit in the space above,                                )
please write "see attached" in the space a11d attach an additio11al                              )
page with the full list of names.)                                                               )
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 9-.~~N.-\ ~"'"'-1\    w,S\-t-r t'>v~~                                                           )
 i.-\ , O\\<t:f'I)   S,S,'1,c,~k'1                                                               )
 LTt \)(AtC.....~                   J                                                            )
- ~
                                                                                                 )
                             Defendant(s)                                                        )
(Write the fi1ll name of each defendant who is being sued, If the                                )
names of all the defendants cannot fit in the space above, please                                )
write "see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                               (Prisoner Complaint)


                                                                                      NOTICE

    Federal Rules of Civil ProcedU1'e 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files, Under this rule, papers filed with the coU1't should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this fonn, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    fonna pauperis.




                                                                                                                                                         Page 1 of 11
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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

L          The Parties to This Complaint

         ., A.        The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                            Name
                            All other names by which
                            you have been known:
                            ID Number                                       filll_J _________________ ·-··--·-·--
                            Current Institution                              A,ti.At- lor-rt..cl::10"«( .b!-'~~l~lt>-k...~~~M_e,,~x~,~~u_th~_s~·(.j:_,/~·_l'~i1-~·t--
                            Address
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                                                                             &"'l'-_si:f>,.                            \Rr         ·- (>Z e, .}o .
                                                                                              City                       State                 Zip Code

           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation, Make sure that the defendant(s)
                      listed below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title (if lcnown) and 9heck whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1
                            Name
                            Job or Title (if known)
                            Shield Number
                            Employer                                          S:k:k        ,,f       R\--;,dt.,~-'~lc.",_,_J_ _ _ _ _ __
                            Address                                          L{f>     f:'m,,,1,rJ      /w_,.,,.._ _ _ _ _ _ _ _ _ _ _ __
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                                                                                              City      ·                State

                                                                            D Individual capacity                  .GZ] Official capacity

                      Defendant No, 2
                            Name
                            Job or Title (if known)
                            Shield Number
                            Employer
                            Address                                         .. Yu tlol-vi:tJ A:\?'i.,_ _ _ _ _ _ _ _ _ _ _ _ __
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                                                                                              City
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                                                                                                                        State                  Zip Code

                                                                            D Individual capacity                  I]] Official capacity


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Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

                      Defendant~o. 3
                          Name·                                             LI Odt)IJ)
                            Job or Title (![known)                           L1UJ~°'"·:\: Mpl, Mv M .Se r._41r~±i
                            Shield.Number
                            Employer                                         S-k±t,.,, __ ~ '.RheA,                <   :r:sl(AJ:
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                                                                                                                                   -··----'-1:JS.~---,----
                                                                                            City                         State             Zip Code

                                                                            0 Individual capacity                  II} Official capacity
                      Defendant No. 4
                            Name
                                                                            L 1.        Tur~~·=\-•------~
                            Job or Title (!(known)                           L-'rC:Ar:tc.J'\fJ\I_):\:   M_CiX'";   i"\l}M    Su'...uo}y
                            Shield Number
                            Employer                                         S~-- o~ R\~~-£~.I~s~\4~11cl~-----
                            Address                                          L{o      bto~vcttl .~A~v~v_________
                                                                            ~ - ' \ .___ --'-"R-t:~- 0J.'i1)J) - ----- - -
                                                                                   cuy        State                                        zip Code

                                                                            D Individual capacity                  ~ Official capacity

II.        Basis for Jurisdiction

          Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
          immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Un/mown Named Agents of
          Federal .Bureau ofNarcotics, 403 U.S. 3 88 (1971), you may sue federal officials for the violation ofcettain
          constitutional rights.

          A.          Are you bringing suit against (check all that apply):

                      D Federal officials (a Bivens claim)
                      5g     State or local officials (a§ 1983 claim)

          B.          Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




          C.          Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you ~laim is/are being violated by federal
                      officials?




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           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.




Ill.       Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows (check all that apply):
          D           Pretrial detainee


          □           Civilly committed detainee


          □           Immigration detainee

          5'I         Convicted and sentenced state prisoner


          □           Convicted and sentenced federal prisoner


          □           Other (explain)
                                                 ----------------------·----------------

IV.      Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.           If the events giving rise to your claim arose outside an institution, describe where and when they arose.




         B.          If the events giving rise to your claim arose in an institution, describe where and when they arose.




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V,        Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.




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VI.      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes,
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.




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VII.     Exhaustion of Administrative Remedies Administrative Procedures

         The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § l997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
         in any jail, prison, or other conectional facility until such administrative remedies as are available are
         exhausted."

         Administrative remedies are also known as grievance procedures. Y om· case may be dismissed if you have not
         exhausted your administrative remedies.

         A.           Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                      ~      Yes

                      □ No
                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




         B.           Does the jail, prison, or other conectional facility where your claim(s) arose have a grievance
                      procedure?




                      D Donotknow
         C,           Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                      cover some or all of your claims?

                      [ll Yes
                      □ No
                      D Donotknow
                      If yes, which claim(s)?




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         D.           Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                      lfil Yes
                      □ No
                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                      0Yes

                      □ No

         E.           If you did file a grievance:

                      1.    Where did you file the grievance?




                      2.    What did you claim in your grievance?



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                      3,    What was the result, if any?




                     4.     What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                            not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




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                           F.          If you did not file a grievance:

                                       1.    If there are any reasons why yoq did not file a grievance, state them here:




                                       2.    If you did not file a grievance but you did infonn officials of your claim, state who you informed,
                                             when and how, and their response, if any:




                           G.          Please set forth any additional information that is relevant to the exhaustion of your administrative
                                       remedies.




                                       (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                                       administrative remedies.)

                VIII. Previous Lawsuits

                          The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal comt without paying
                          the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
                          brought an action or appeal in a comt of the United States that was dismissed on the grounds that it is frivolous,
                          malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
                          danger of serious physical injmy." 28 U.S.C. § 1915(g).

                          To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

                          D Yes
                          [)iNo
                          If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.



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         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?

                      D Yes
                      11)    No


         B.           If your'.nswer to A is yes, describe each lawsuit by answering questions I through 7 below. (If there is
                      more ihbn one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.    Parties to the previous lawsuit
                            Plaintiff(s)
                                                 ---··--········~··---------------
                            Defendant(s)

                      2.    Court (iffederal court, name the district,· if state court, name the county and State)



                      3.    Docket or index number



                      4.    Name of Judge assigned to your case



                      5.    Approximate date of filing lawsuit



                      6.    Is the case still pending?

                            0Yes

                            □ No
                            If no, give the approximate date of disposition.


                      7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                            in your favor? Was the case appealed?)




         C.          Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                     imprisonment?



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                     D       Yes

                      □      No


         D.           If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.    Parties to the previous lawsuit
                            Plaintiff(s)
                            Defendant(s)


                      2.    Cou1t (iffederal court, name the district,· if state court, name the county and State)




                      3.    Docket or index number



                      4.    Nam.e of Judge assigned to your case



                      5.    Approximate date of filing lawsuit



                      6.    Is the case still pending?

                           0Yes

                           0No

                            If no, give the approximate qate of disposition

                      7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                            in your favor? Was the case appealed?)




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IX.       Certification and Closing

         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, infonnation,
         and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discov~y; and (4) the complaint otherwise complies with the
         requirements of Rule 11.

                                                                                                                                            (
         A.           For Parties Without an Attorney

                      I agree to provide the Clerk's Offict} with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.

                      Date of signing:


                      Signature of Plaintiff
                                                              ~·11~
                      Printed Name of Plaintiff                Sh"l\t., (\,1    'ft,~r1'
                      Prison Identification #                   1~~777
                      Prison Address                            'Po ~(;,~      fjJ,.73
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                                                                                  City       State              Zip Code


         B.           For Attorneys
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                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Address

                                                                                  City      State               Zip Code

                      Telephone Number
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                      E-mail Address




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